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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION

 AMERICAN CHEMICAL SOCIETY ET AL.,

                                Plaintiffs,             Case No. 8:18-cv-03019-GJH

        v.

 RESEARCHGATE GMBH,

                                Defendant.



         JOINT PROPOSED MODIFICATIONS TO DISCOVERY DEADLINES

       Plaintiffs American Chemical Society, Elsevier Inc., Elsevier Ltd., and Elsevier B.V.

(collectively, “Plaintiffs”), and Defendant ResearchGate GmbH (“Defendant”), by and through

their respective undersigned counsel, hereby submit the following Joint Proposed Modifications

to Discovery Deadlines modifying the deadlines previously proposed by the parties (ECF No. 18)

and entered by the Court on March 11, 2019. For several reasons, including that multiple parties

are located overseas, discovery has proceeded more slowly than anticipated. Accordingly, the

parties have agreed to propose the following modifications to the discovery deadlines and request

the Court enter an order modifying the discovery deadlines as follows:


   July 14, 2020              Fact discovery deadline

   July 20, 2020              Rule 26(a)(2) expert disclosures

   September 30, 2020         Rebuttal Rule 26(a)(2) expert disclosures

   October 21, 2020           Rule 26(e)(2) supplementation of disclosures and responses

   December 21, 2020          Expert discovery deadline; submission of status report

   March 4, 2021              Dispositive motions deadline

This is the first modification of the discovery deadlines the parties have sought.
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Dated: January 16, 2019


Respectfully submitted by:


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